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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP,

             Plaintiff,

     v.                                           Civil Action No. 1:19-cv-02173 (CJN)

COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES, et al.,

             Defendants.


                                          ORDER

      For the reasons stated in the accompanying Memorandum Opinion, it is

      ORDERED Mr. Trump’s Emergency Application for Relief Under the All Writs Act,

Dkt. 6, is GRANTED.

      It is further ORDERED that

      (1)     if Chairman Neal makes a request under the TRUST Act for information relating

              to Mr. Trump’s New York state tax returns, the Congressional Defendants shall

              provide the Court and Mr. Trump with contemporaneous notice of that request;

              and

      (2)     the Congressional Defendants shall not receive any records requested by

              Chairman Neal for a period of fourteen (14) days, during which time the Court

              can decide whether Chairman Neal’s request is lawful.

      It is so ORDERED.

DATE: November 18, 2019
                                                          CARL J. NICHOLS
                                                          United States District Judge


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